 Fill in this information to identify the case:

 Debtor name            MBF Inspection Services, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF NEW MEXICO

 Case number (if known)               18-11579
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        8,480,137.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        8,480,137.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        3,479,317.47


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           135,475.12

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           267,544.22


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           3,882,336.81




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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             Case 18-11579-t11                                 Doc 25                Filed 07/06/18                         Entered 07/06/18 15:02:28 Page 1 of 51
 Fill in this information to identify the case:

 Debtor name         MBF Inspection Services, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW MEXICO

 Case number (if known)         18-11579
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Ebay Account                                                                                                                     $1,875.00




           3.2.     Valley Bank - Certificate Of Deposit                                                                                          $250,053.00




           3.3.     Wells Fargo - Certificate Of Deposit                                                                                          $263,902.00




           3.4.     Bank Of The Southwest                                                                                                       $1,621,814.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                 $2,137,644.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         MBF Inspection Services, Inc.                                                     Case number (If known) 18-11579
                Name



 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                         4,276,861.00    -                                   0.00 = ....               $4,276,861.00
                                              face amount                           doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                            $4,276,861.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of         Valuation method used    Current value of
                                                                                 debtor's interest         for current value        debtor's interest
                                                                                 (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Leasehold Improvements                                                               $0.00                                         $29,882.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 2
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 Debtor         MBF Inspection Services, Inc.                                                 Case number (If known) 18-11579
                Name


 43.       Total of Part 7.                                                                                                               $29,882.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used       Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value           debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Leased equipment and vehicles from
           Inspection Leasing, Inc.                                                         $0.00                                            Unknown




 51.       Total of Part 8.                                                                                                                   $0.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used      Current value of
           property                                       extent of           debtor's interest      for current value          debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
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                Name

            apartment or office building, if
            available.
            55.1. Office building
                     leased from 805
                     Partners, LLC                                                          $0.00                                           Unknown




 56.        Total of Part 9.                                                                                                                   $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used    Current value of
                                                                              debtor's interest        for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            www.mbfinspection.com                                                           $0.00                                                 $0.00



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                  $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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 Debtor         MBF Inspection Services, Inc.                                                  Case number (If known) 18-11579
                Name

    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                     Current value of
                                                                                                                                     debtor's interest


 71.       Notes receivable
           Description (include name of obligor)
           Employee advance payments to                                           250.00 -                                  0.00 =
           Emily Molinar                                               Total face amount     doubtful or uncollectible amount                      $250.00



 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

           Work In Process                                                                                                                  $2,035,500.00




 78.       Total of Part 11.                                                                                                             $2,035,750.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 5
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 Debtor          MBF Inspection Services, Inc.                                                                       Case number (If known) 18-11579
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                        $2,137,644.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $4,276,861.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $29,882.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +              $2,035,750.00

 91. Total. Add lines 80 through 90 for each column                                                         $8,480,137.00            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $8,480,137.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 6
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             Case 18-11579-t11                          Doc 25             Filed 07/06/18                    Entered 07/06/18 15:02:28 Page 7 of 51
 Fill in this information to identify the case:

 Debtor name         MBF Inspection Services, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW MEXICO

 Case number (if known)             18-11579
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Inspection Leasing, Inc.                       Describe debtor's property that is subject to a lien               $2,978,639.39             $6,912,611.00
       Creditor's Name                                A/R & WIP
       805 N. Richardson
       Roswell, NM 88201
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Valley Bank Of Commerce                        Describe debtor's property that is subject to a lien                 $250,678.08               $250,678.08
       Creditor's Name                                CD
       217 W. 2nd St.
       Roswell, NM 88201
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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 Debtor       MBF Inspection Services, Inc.                                                            Case number (if know)       18-11579
              Name

            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



        Wells Fargo (Liberty
 2.3                                                  Describe debtor's property that is subject to a lien                     $250,000.00         $250,000.00
        Mutual)
        Creditor's Name                               CD



        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                               $3,479,317.4
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         7

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         MBF Inspection Services, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW MEXICO

 Case number (if known)            18-11579
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

              No. Go to Part 2.

              Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $9,351.57         $9,351.57
           Employee Garnishment                                      Check all that apply.
           See Attachment                                                Contingent
                                                                         Unliquidated
                                                                         Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     See Attachment
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                         Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $17,183.56          $17,183.56
           Unpaid 401 k                                              Check all that apply.
           See Attachment                                                Contingent
                                                                         Unliquidated
                                                                         Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     See Attachment
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                         Yes


 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $10,333.44          $10,333.44
           Unpaid Insurance                                          Check all that apply.
           See Attachment                                                Contingent
                                                                         Unliquidated
                                                                         Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     See Attachments
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                         Yes



Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 14
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 Debtor       MBF Inspection Services, Inc.                                                                   Case number (if known)          18-11579
              Name

 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $8,412.73    $8,412.73
           Unpaid Loan Interest                                      Check all that apply.
           See Attachment                                                Contingent
                                                                         Unliquidated
                                                                         Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     See Attachment
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                         Yes


 2.5       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $8,500.00    $8,500.00
           Unpaid Rent                                               Check all that apply.
                                                                         Contingent
                                                                         Unliquidated
                                                                         Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     See Attachment
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                         Yes


 2.6       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $81,693.82        $8,500.00
           Unpaid Taxes *                                            Check all that apply.
           See Attachment                                                Contingent
                                                                         Unliquidated
                                                                         Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Unpaid Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                         Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                        $88.96
           Accent Flowers                                                               Contingent
           3110 N. Main                                                                 Unliquidated
           Roswell, NM 88201                                                            Disputed
           Date(s) debt was incurred                                               Basis for the claim:
           Last 4 digits of account number                                         Is the claim subject to offset?      No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                        $37.49
           Allied Digital Security, Inc                                                 Contingent
           PO Box 821                                                                   Unliquidated
           Roswell, NM 88202                                                            Disputed
           Date(s) debt was incurred                                               Basis for the claim:
           Last 4 digits of account number                                         Is the claim subject to offset?      No       Yes

* Taxes incurred during the normal course of business and will be paid by due date.




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 2 of 14
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 Debtor       MBF Inspection Services, Inc.                                                           Case number (if known)            18-11579
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,915.00
          Amanda Craig                                                           Contingent
          609 N Goldsmith Ave                                                    Unliquidated
          Goldsmith, TX 79741                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Stat.labor
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,405.17
          American Express                                                       Contingent
          PO Box 30384                                                           Unliquidated
          Salt Lake City, UT 84130                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number       1003                         Is the claim subject to offset?      No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Anthony Rice
                                                                                 Contingent
          1195 Dawson Road                                                       Unliquidated
          Brighton, TN 38011                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Audrey Tsinnie-Gilmore                                                 Contingent
          22359 Gull Lake Drive                                                  Unliquidated
          Nisswa, MN 56468                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,288.30
          Backgrounds Online                                                     Contingent
          1915 21st St.                                                          Unliquidated
          Sacramento, CA 95811                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $31.67
          Benchmark Business Solutions, Inc                                      Contingent
          L-3845                                                                 Unliquidated
          Columbus, OH 43260                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Benjamin Bolton                                                        Contingent
          2116 W 21st Ave                                                        Unliquidated
          Kennewick, WA 99337                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $172.53
          Bob Reed Pest Control                                                  Contingent
          1206 W Hobbs                                                           Unliquidated
          Roswell, NM 88203                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes




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 Debtor       MBF Inspection Services, Inc.                                                           Case number (if known)            18-11579
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 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Bryan Malone                                                           Contingent
          712 West Ave.                                                          Unliquidated
          Levelland, TX 79336                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,458.57
          Capitol One                                                            Contingent
          PO Box 30285                                                           Unliquidated
          Salt Lake City, UT 84130-0287                                          Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number       4460                         Is the claim subject to offset?      No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,599.75
          Carpet Clinic, Inc                                                     Contingent
          722 S. Sunset, Suite B                                                 Unliquidated
          Roswell, NM 88203                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Casey Chadborn                                                         Contingent
          602 Locust St                                                          Unliquidated
          Clayton, NM 88415                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Charles King                                                           Contingent
          216 Tasono                                                             Unliquidated
          Victoria, TX 77904                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1.00
          Concho Resources, Inc.
          c/o Corey Devine                                                       Contingent
          1201 Louisiana Street, Suite 850                                       Unliquidated
          Houston, TX 77002                                                      Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Indemnity
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,977.00
          David E. Brown Jr.                                                     Contingent
          222 Cypress Lane                                                       Unliquidated
          Natchitoches, LA 71457                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Stat.labor
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          David L Berryman                                                       Contingent
          709 E Scharbauer                                                       Unliquidated
          Hobbs, NM 88240                                                        Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes




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 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Dennis Decker                                                          Contingent
          2012 CR 214                                                            Unliquidated
          Durango, CO 81303                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Dustin Campbell                                                        Contingent
          3006 Bandolina                                                         Unliquidated
          Roswell, NM 88201                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Eddie Sellers                                                          Contingent
          PO Box 823                                                             Unliquidated
          Artesia, NM 88211                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Elton Pennington                                                       Contingent
          6220 S. Morris Rd.                                                     Unliquidated
          Carlsbad, NM 88220                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $285.76
          Emerald Lawn & Sprinkler                                               Contingent
          1526 N. Kansas                                                         Unliquidated
          Roswell, NM 88201                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ernie Tyson                                                            Contingent
          PO Box 901                                                             Unliquidated
          Oologah, OK 74053                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Frank D. Brown                                                         Contingent
          2175 N Trikell Rd #A-9                                                 Unliquidated
          Casa Grande, AZ 85122                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Gary Brooks                                                            Contingent
          2848 Cochrane Loop                                                     Unliquidated
          McAlester, OK 74501                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes




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 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Gary Klug                                                              Contingent
          3004 Colfax                                                            Unliquidated
          Carlsbad, NM 88220                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Gary Marshall                                                          Contingent
          812 Lynchburg Highway                                                  Unliquidated
          Mulberry, TN 37359                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $56,798.68
          Glynn Estess                                                           Contingent
          PO Box 181                                                             Unliquidated
          Osyka, MS 39657                                                        Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Stat.labor
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $500.00
          Hatchet Construction                                                   Contingent
          PO Box 6003                                                            Unliquidated
          Roswell, NM 88202                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,555.00
          Intak Rental & Supply, LLC                                             Contingent
                                                                                 Unliquidated
          Houma, LA 70361                                                        Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,197.73
          James Isanhart                                                         Contingent
          4920 Pompano Dr.                                                       Unliquidated
          New Port Richey, FL 34652                                              Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Stat.labor
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,393.43
          James Jenkins                                                          Contingent
          2101 Blood Bend Rd                                                     Unliquidated
          Saint Landry, LA 71367                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Stat.labor
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,423.46
          James Klug                                                             Contingent
          605 N. Chestnut                                                        Unliquidated
          Carlsbad, NM 88220                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Stat.labor
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes




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 Debtor       MBF Inspection Services, Inc.                                                           Case number (if known)            18-11579
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 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          James Klug                                                             Contingent
          605 N. Chestnut                                                        Unliquidated
          Carlsbad, NM 88220                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          James Silvia                                                           Contingent
          28857 Avd De Las Flores                                                Unliquidated
          Sun City, CA 92587                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jason Hale                                                             Contingent
          638 Bernard Rd                                                         Unliquidated
          Pioneer, LA 71266                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jeffrey Schild                                                         Contingent
          2660 Whispering Trail                                                  Unliquidated
          Little Elm, TX 75068                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jeremy McCullough                                                      Contingent
          2961 Mawpat Drive                                                      Unliquidated
          Lovington, NM 88260                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jesse Smith                                                            Contingent
          1 Matro Ave                                                            Unliquidated
          Berlin, NJ 08009                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,057.68
          John Bass                                                              Contingent
          1467 Nicely Rd.                                                        Unliquidated
          Blanchester, OH 45107                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Stat.labor
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          John Hansen                                                            Contingent
          225 Ice Pond Rd.                                                       Unliquidated
          Brewster, NY 10509                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes




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 Debtor       MBF Inspection Services, Inc.                                                           Case number (if known)            18-11579
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 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          John Jenkins                                                           Contingent
          5031 Redwood Drive                                                     Unliquidated
          Monroe, MI 48161                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Johnnie Dicks                                                          Contingent
          17 Shennecock Court                                                    Unliquidated
          Aiken, SC 29803                                                        Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Johnny Bales                                                           Contingent
          8953 Hwy 10                                                            Unliquidated
          Tahlequah, OK 74464                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Johnny Ray Hughes                                                      Contingent
          2414 W Fir                                                             Unliquidated
          Lovington, NM 88260                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Johnny Woods                                                           Contingent
          919 S Roselawn                                                         Unliquidated
          Artesia, NM 88210                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,524.92
          Kari Geldert                                                           Contingent
          93 Three Mile Creek Rd                                                 Unliquidated
          Fort Bridger, WY 82933                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Stat.labor
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kevin Greaves                                                          Contingent
          310 Perry Road                                                         Unliquidated
          Woodbine, NJ 08270                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,938.48
          Kyle Wimberly                                                          Contingent
          207 Koldin Dr.                                                         Unliquidated
          Aledo, TX 76008                                                        Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Stat.labor
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes




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 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,291.69
          Larry Alexander                                                        Contingent
          12201 Hwy 35 N                                                         Unliquidated
          Kosciusko, MS 39090                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Stat.labor
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Larry Lunsford                                                         Contingent
          PO Box 733                                                             Unliquidated
          Carlsbad, NM 88221                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,579.72
          Lisa McCurry                                                           Contingent
          341 N. Bar Ct.                                                         Unliquidated
          Myrtle Beach, SC 29579                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Stat.labor
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Marilyn Goins                                                          Contingent
          1202 Spring Branch Drive                                               Unliquidated
          Baytown, TX 77523                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Mark Granahan                                                          Contingent
          411 E Sadosa                                                           Unliquidated
          Eastland, TX 76448                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Michael Shepherd                                                       Contingent
          2390 N. Hillcrest Rd.                                                  Unliquidated
          Vincennes, IN 47591                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,254.92
          Michael Steiner                                                        Contingent
          50 Emery St. #47                                                       Unliquidated
          Pahrump, NV 89048                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Stat.labor
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Michael Thompson                                                       Contingent
          324 E Derrick                                                          Unliquidated
          Carlsbad, NM 88220                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes




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 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Michelle Lee                                                           Contingent
          13805 Limestone Rd                                                     Unliquidated
          Kingston, OK 73439                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15.00
          NCCER                                                                  Contingent
          13614 Progress Blvd                                                    Unliquidated
          Alachua, FL 32615                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21.47
          Nice Ice Co                                                            Contingent
          801 W 2nd St                                                           Unliquidated
          Roswell, NM 88201                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number       0740                         Is the claim subject to offset?      No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28.21
          Nice Ice Co.                                                           Contingent
          801 W 2nd St.                                                          Unliquidated
          Roswell, NM 88201                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21.47
          Nice Ice Co.                                                           Contingent
          801 W 2nd St.                                                          Unliquidated
          Roswell, NM 88201                                                      Disputed
          Date(s) debt was incurred      6/13/18                             Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14.73
          Nice Ice Co.                                                           Contingent
          801 W. 2nd St                                                          Unliquidated
          Roswell, NM 88201                                                      Disputed
          Date(s) debt was incurred      6/7/18                              Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28.21
          Nice Ice Co.                                                           Contingent
          801 W. 2nd St                                                          Unliquidated
          Roswell, NM 88201                                                      Disputed
          Date(s) debt was incurred      6/21/18                             Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,668.12
          nQativ                                                                 Contingent
          5214 68th St, Suite 200                                                Unliquidated
          Lubbock, TX 79424                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes




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 Debtor       MBF Inspection Services, Inc.                                                           Case number (if known)            18-11579
              Name

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,391.04
          Patsy Marano                                                           Contingent
          18 Jordan Street                                                       Unliquidated
          Fairchance, PA 15436                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Stat.labor
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Paul Tahtinen                                                          Contingent
          234 Wisconsin Ave.                                                     Unliquidated
          Chetek, WI 54728                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,655.00
          Pipeline Testing Consortium, Inc.                                      Contingent
          PO Box 842566                                                          Unliquidated
          Kansas City, MO 64184                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $49.99
          Pitney Bowes Purchase Power                                            Contingent
          PO Box 371874                                                          Unliquidated
          Pittsburgh, PA 15250                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Raul Sanchez                                                           Contingent
          117 Tenderfoot Trail                                                   Unliquidated
          Del Rio, TX 78840                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,610.00
          REDW                                                                   Contingent
          PO Box 93656                                                           Unliquidated
          Albuquerque, NM 87199                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Richard Gill                                                           Contingent
          622 Stan Dr                                                            Unliquidated
          Grand Junction, CO 81504                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Richard Gilson                                                         Contingent
          4459 Morse Road                                                        Unliquidated
          Alexandria, OH 43001                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes




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 Debtor       MBF Inspection Services, Inc.                                                           Case number (if known)            18-11579
              Name

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Richard Streun                                                         Contingent
          8672 County Road 291                                                   Unliquidated
          Early, TX 76802                                                        Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Robert Nichols                                                         Contingent
          695 County Road 414                                                    Unliquidated
          Dayton, TX 77535                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Robert Ray                                                             Contingent
          1207 Grassy Creek Rd                                                   Unliquidated
          Pinnacle, NC 27043                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,505.00
          Ron Spangler                                                           Contingent
          5075 West Berrendo Rd.                                                 Unliquidated
          Roswell, NM 88201                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Stat.labor
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ronald Lancaster                                                       Contingent
          4711 Peaceful Pine Rd                                                  Unliquidated
          Rapid City, SD 57702                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ronald Melancon                                                        Contingent
          PO Box 622                                                             Unliquidated
          Duson, LA 70529                                                        Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $100.00
          Roswell High School
          Coyotes Cheer Booster Club, Inc.                                       Contingent
          500 W. Hobbs St.                                                       Unliquidated
          Roswell, NM 88203                                                      Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $250.00
          Rotary Desert Sun
          Pro-Am Golf Classic                                                    Contingent
          PO Box 1573                                                            Unliquidated
          Roswell, NM 88202                                                      Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes




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 Debtor       MBF Inspection Services, Inc.                                                           Case number (if known)            18-11579
              Name

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,438.57
          Sandra Seelye                                                          Contingent
          921 Upper Georges Creek Rd                                             Unliquidated
          Frostburg, MD 21532                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Stat.labor
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $476.07
          Tascosa Office Machines, Inc                                           Contingent
          321 N Main St                                                          Unliquidated
          Roswell, NM 88201                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ted Nunez                                                              Contingent
          218 NE Main St.                                                        Unliquidated
          Lees Summit, MO 64063                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Terry Vining                                                           Contingent
          20356 US Hwy 84E                                                       Unliquidated
          Rusk, TX 75785                                                         Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,701.34
          Thomas Ganci                                                           Contingent
          380 Big Sky                                                            Unliquidated
          New Braunfels, TX 78132                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Stat.labor
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Victor Martinez                                                        Contingent
          402 South Daniel                                                       Unliquidated
          Tatum, NM 88267                                                        Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Virgil Howell                                                          Contingent
          4967 Herndon Dr.                                                       Unliquidated
          Auburndale, FL 33823                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,218.09
          Wendy Brann                                                            Contingent
          1055 Pine Street, #361                                                 Unliquidated
          Nashville, TN 37203                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Stat.labor
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes




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 Debtor       MBF Inspection Services, Inc.                                                           Case number (if known)            18-11579
              Name

 3.91      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $24,745.57
           William Bryner                                                        Contingent
           100 Victory Lane                                                      Unliquidated
           Lemont Furnace, PA 15456                                              Disputed
           Date(s) debt was incurred                                         Basis for the claim:    Stat.labor
           Last 4 digits of account number                                   Is the claim subject to offset?       No      Yes

 3.92      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $4,829.43
           William Sperber                                                       Contingent
           380 Grand Ave.                                                        Unliquidated
           Forestville, WI 54213                                                 Disputed
           Date(s) debt was incurred                                         Basis for the claim:    Stat.labor
           Last 4 digits of account number                                   Is the claim subject to offset?       No      Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                       135,475.12
 5b. Total claims from Part 2                                                                            5b.   +    $                       267,544.22

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          403,019.34




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}bk1{Attachment B}bk{




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 Fill in this information to identify the case:

 Debtor name         MBF Inspection Services, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW MEXICO

 Case number (if known)         18-11579
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         MBF Inspection Services, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW MEXICO

 Case number (if known)         18-11579
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                       Name                        Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code




Official Form 206H                                                               Schedule H: Your Codebtors                                   Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         MBF Inspection Services, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW MEXICO

 Case number (if known)         18-11579
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                  Gross revenue
       which may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                   $28,817,493.00
       From 1/01/2018 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                   $56,889,176.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other


       For year before that:                                                                       Operating a business                   $44,311,951.00
       From 1/01/2016 to 12/31/2016
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue   Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:
       From 1/01/2018 to Filing Date                                                           Interest, Rental Income                           $2,241.00


       For prior year:                                                                         Interest, Rental Income,
       From 1/01/2017 to 12/31/2017                                                            Credit Card Rewards                               $4,652.00


       For year before that:                                                                   Interest, Rental Income, IRS
       From 1/01/2016 to 12/31/2016                                                            Penalty Refund                                 $552,380.00


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy



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 Debtor       MBF Inspection Services, Inc.                                                             Case number (if known) 18-11579




3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See Attachment                                                                            $5,383,756.65                Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address
       7.1.    See Attachment                                                                                                              Pending
                                                                                                                                           On appeal
                                                                                                                                           Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.



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 Debtor        MBF Inspection Services, Inc.                                                                Case number (if known) 18-11579



           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

                Recipient's name and address                     Description of the gifts or contributions                Dates given                      Value

       9.1.     ENMSF Jr. Livestock Sale                         Cash Donation
                                                                                                                                                     $1,000.00

                Recipients relationship to debtor




 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss       Value of property
       how the loss occurred                                                                                                                               lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates           Total amount or
                 the transfer?                                                                                                                          value
                 Address
       11.1.     B.L.F., LLC
                 PO Box 7070
                 Albuquerque, NM 87194-7070                          Chapter 11 Retainer                                                           $35,000.00

                 Email or website address
                 jennie@jdbehles.com

                 Who made the payment, if not debtor?




       11.2.     B.L.F., LLC
                 PO Box 7070
                 Albuquerque, NM 87194-7070                          Chapter 11 Filing Fee                                                           $1,717.00

                 Email or website address


                 Who made the payment, if not debtor?




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 Debtor        MBF Inspection Services, Inc.                                                             Case number (if known) 18-11579



                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.3.     B.L.F., LLC
                 PO Box 7070
                 Albuquerque, NM 87194-7070                          Legal Fees re: Statutory Labor Claims                                            $35,154.40

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                  Date transfer            Total amount or
                Address                                          payments received or debts paid in exchange             was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or

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    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                      No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    MBF Inspection Services, Inc. 401 (K) Plan                                                 EIN: G38162

                    Has the plan been terminated?
                      No
                      Yes

                      No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    MBF Inspection Services, Inc. 401 (k) Plan                                                 EIN: G37363 & G35815

                    Has the plan been terminated?
                      No
                      Yes


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was            Last balance
              Address                                            account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                        Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                      Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None



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 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Bobby Carroll                                                                                                              6/2016 To Present
                    3012 Barcelona Dr.
                    Roswell, NM 88201
       26a.2.       Amanda Ballinger                                                                                                           6/2016 To Present
                    1505 S. Lea
                    Roswell, NM 88203
       26a.3.       Valuation Advisory Services, LLC
                    1271 Barclay Blvd.
                    Buffalo Grove, IL 60089
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    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

                None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

                None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

                None

       Name and address
       26d.1.       Bank Of The Southwest
                    PO Box 1638
                    Roswell, NM 88201
       26d.2.       Frank Sturges
                    2708 Gaye Dr.
                    Roswell, NM 88201
       26d.3.       Mark Daniels
                    5275 W. Country Club Rd.
                    Roswell, NM 88201
       26d.4.       Inspection Leasing, Inc.
                    805 N. Richardson Ave.
                    Roswell, NM 88202

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Frank Sturges                                  2708 Gaye Dr.                                       President/Director
                                                      Roswell, NM 88201

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Mark Daniels                                   5275 W. Country Club                                Vice-President/Director
                                                      Roswell, NM 88201



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


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30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 See Attachment
       .

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Inspection Leasing, Inc                                                                                    EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on

                                                                        Frank Sturges
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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